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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  NORTHERN DIVISION




 PROCTER & GAMBLE CO., et al.,
        Plaintiffs,                                   MEMORANDUM DECISION AND
                                                      ORDER GRANTING
                                                      DEFENDANTS’ MOTION TO STAY
                                                      JUDGMENT PENDING
                                                      RESOLUTION OF POST-TRIAL
                                                      MOTIONS AND FOR APPROVAL
                                                      OF SURETY BOND


                vs.


 RANDY HAUGEN, et al.,                                Case No. 1:95-CV-94 TS
        Defendants.




       This matter is before the Court on Defendants’ Motion under Fed. R. Civ. P. 62(b)

seeking a stay of the Judgment pending resolution of certain post-trial motions. Plaintiffs

did not file an opposition.

       Rule 62(b) permits the Court “in its discretion and on such conditions for the security

of the adverse party as are just,” to issue a stay of execution during the pendency of

Defendants’ timely filed motions for a new trial under Fed. R. Civ. P. 59 and for judgment

in accordance with a motion for a directed verdict made pursuant to Fed. R. Civ. P. 50.



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       The Court finds that Defendants’ suggested bond amount of $19,500,000 is a

condition for the security of Plaintiffs that is just under the circumstances of this case. It

is therefore

       ORDERED that Defendants’ Motions for Stay of Enforcement of the Judgment

Pending the Resolution of Post-Trial Motion and for Approval of Surety Bond (Docket No.

1164) is GRANTED and, upon filing of a surety bond in the amount of $19,500,000,

enforcement of the Judgment will be stayed until ten days following resolution of

Defendants’ Motion under Fed. R. Civ. P. 50 and 59.1

       DATED May 15, 2007.

                                           BY THE COURT:


                                           ___________________________________
                                           TED STEWART
                                           United States District Judge




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           Docket Nos. 1159 and 1161.

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